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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-61872-CIV-SINGHAL/HUNT

  ALAN DERSHOWITZ,

         Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

       Defendant.
  _____________________________________/

                                     FINAL JUDGMENT

          THIS CAUSE is before the Court following entry of the Order granting

   Defendant’s Motion for Summary Judgment (DE [290]). The Court enters this separate

   final judgment pursuant to Fed. R. Civ. P. 58(a). Accordingly, it is hereby

         ORDERED AND ADJUDGED that Final Judgment is entered in favor of Defendant

  Cable News Network, Inc., and against Plaintiff Alan Dershowitz. Plaintiff shall take

  nothing by this action.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 4th day of

  April 2023.




  Copies furnished to counsel via CM/ECF
